             Case 1:21-cv-01229-JPB Document 19 Filed 04/12/21 Page 1 of 4


                                                                                     FILED IN CLERK';'.:, Or
                                                                                          U.S.D.C. Atlanb
                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF GEORGIA                                   APR 12 2021
                                ATLANTA DIVISION
                                                                                    JAMES N HATTEN
                                       Amicus Curiae                              By:            Deputy Cie !,
RE: CASES

11 Case 1:21-mi-99999-UNA Document 917 Filed 03/29/21

21 GEORGIA STATE CONFERENCE OF THE NAACP ET.AL v. BRAD RAFFENSPERGER ET.AT

31! Case 1:21-cv-01229-JPB Document 1 Filed 03/25/21

STANDING:
Amicus is a U.S. Citizen and Resident of West Virginia, Whose livelyhood, income, estate, taxes, et.al
are directly impacted by federally elected members of Congress and the offices of President and Vice
President of the United States; along with other Constitutional officers nominated and confirmed to
office.


QUESTION PRESENTED:
Does the unanimous ruling of the Supreme Court of the United States in SANDIFER V. U.S. STEEL
CORP.
No. 12-417. Argued November 4, 2013—Decided January 27, 2014 (Scalia)
OVERTURN
the 5-4 ruling of same in SHELBY COUNTY, ALABAMA v. HOLDER, ATTORNEY GENERAL, ET
AL. No. 12-96. Argued February 27, 2013—Decided June 25, 2013 (Roberts)

Shelby:5-4
Held: Section 4 of the Voting Rights Act is unconstitutional; its formula can no longer
be used as a basis for subjecting jurisdictions to pre-clearance
                               But a more fundamental problem remains:
                               Congress did not use the record it compiled
                                 to shape a coverage formula grounded
                                           in current conditions.
                                      It instead reenacted a formula
                                        based on 40-year-old facts
                              having no logical relation to the present day.
                                     Its failure to act leaves us today
                                       with no choice but to declare
                                           §4(b) unconstitutional.,
                                        The formula in that section
                                     can no longer be used as a basis
                              for subjecting jurisdictions to pre-clearance.



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SANDIFER:9-0

                      For better or worse, it used the narrower word "clothes."
                       "The role of this Court is to apply
                           the statute as it is written
                     —even if we think some other approach
                        might accord with good policy."
                                  Burrage v. United States, ante at 14
                           (internal quotation marks and brackets omitted)

AND
NORTHERN SECURITIES CO. V. UNITED STATES, 193 U.S. 197 (1904) [5-4]

                the recognition of the principles announced in former cases must,
                under the conceded facts, lead to an affirmance of the decree below,
                            unless the special objections, or some of them,
                                which have been made to the application
               of the act of Congress to the present case are of a substantial character.
                   the act, if within the powers of Congress, must be respected;
                              for, by the explicit words of the Constitution,
                          that instrument and the laws enacted by Congress
                    in pursuance of its provisions are the supreme law of the land,
          "anything in the constitution or laws of any State to the contrary notwithstanding"
                             -- supreme over the States, over the courts,
                             and even over the people of the United States,
                       the source of all power under our governmental system
             in respect of the objects for which the National Government was ordained.

                       If Congress legislates for the protection of the public,
                                 may it not proceed on the ground
                     that wrongs, when effected by a powerful combination,
                   are more dangerous and require more stringent supervision
                        than when they are to be effected by a single person?
                                Callan v. Wilson, 127 U.S. 540, 556.
                                       Harlan Lead Opinion

AND
STANDARD OIL CO. OF NEW JERSEY V. UNITED STATES, 221 U.S. 1 (1910)[9-0]/[8-1]
Majority White, McKenna, Holmes, Day, Lurton, Hughes, Van Devanter, Lamar
Concur/dissent Harlan
                            To this we reply that, if it be the true construction,
                                 its harshness is no concern of the courts.
                 They have no responsibility for the justice or wisdom of legislation,
                         and no duty except to enforce the law as it is written,
            unless it is clearly beyond the constitutional power of the lawmaking body. . . .
                                   It is quite conceivable that Congress,

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                      contemplating the inevitable hardship of such injuries
                   and hoping to diminish the economic loss to the community
                             resulting from them, should deem it wise
                                      to impose their burdens
                     upon those who could measurably control their causes,
                instead of upon those who are in the main helpless in that regard.
                     Such a policy would be intelligible, and, to say the least,
                not so unreasonable as to require us to doubt that it was intended,
                  and to seek some unnatural interpretation of common words.
                              We see no error in this part of the case.

                              If the court was wrong in the Taylor case,
                     the way is open for such an amendment of the statute
                           as Congress may, in its discretion, deem proper.
                                 This court ought not now to disturb
               what has been so widely accepted and acted upon by the courts
                                 as having been decided in that case.
                        A contrary course would cause infinite uncertainty,
              if not mischief, in the administration of the law in the Federal courts.
                                      To avoid misapprehension,
                      it is appropriate to say that we are not to be understood
                           as questioning the soundness of the interpretation
                  heretofore placed by this court upon the Safety Appliance Act.
                                       We only mean to say that,
                         until Congress, by an amendment of the statute,
                          changes the rule announced in the Taylor Case,
                            this court will adhere to and apply that rule.
                         C., B. & Q. Ry. Co. v. United States, 220 U.S. 559.
                                     HARLAN in CONCURRENCE

                               We do not sit as a super-legislature
                      to determine the wisdom, need, and propriety of laws
                                 that touch economic problems,
                              business affairs, or social conditions
                          Griswold v. Connecticut, 381 U.S. 479 (1965)

Certificate of Service
Amicus pro se, hereby certify a true copy sent to these parties
Sean J. Young
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Clarksburg, W.V. 26301


                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION
                                  Richard B. Russell Federal Building
                                    2211 United States Courthouse
                                       75 Ted Turner Drive, SW
                                       Atlanta, GA 30303-3309



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